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1    BRENT HARSH, ESQ.
     State Bar No. 8814
2
     KARL H. SMITH, ESQ.
3    State Bar No. 6504
     CURTIS B. COULTER, ESQ.
4    Nevada Bar No. 3034
     COULTER HARSH LAW
5    403 Hill Street
     Reno, NV 89501
6
     (775)324-3380
7    Attorney for Plaintiff

8
                                               UNITED STATES DISTRICT COURT
9
                                                  DISTRICT OF NEVADA
10

11
           MARTIN ORTIZ,                                     CASE NO. 3:20-CV-00629-MMD-CLB
12
                  Plaintiffs,                                    ORDER GRANTING PLAINTIFF
13                                                               EXTENSION TO FILE REPLY TO
           vs.                                                    OPPOSITION TO MOTION TO
14
                                                                REMAND AND REQUEST FOR FEES
15         COOL FREIGHT EXPRESS, INC.,                                AND SANCTIONS
           TARANDEEP SINGH, DOES 1 – 10, and
16         ROE CORPORATIONS 1-10, Inclusive,

17                Defendants.
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                 Plaintiff, MARTIN ORTIZ, by and through his counsel of COULTER HARSH LAW and
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20   Defendants, COOL FREIGHT EXPRESS, INC., and TARANDEEP SINGH, by and through their

21   counsel, MELISSA J. ROOSE, ESQ., of RESNICK & LOUIS, P.C. hereby stipulate to grant plaintiff
22   an extension to file his Reply to Defendants’ Opposition to Motion to Remand and Request for Fees and
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     Sanctions until January 8, 2021.
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                 The basis for the filing is plaintiff’s counsel is out of town until January 5, 2021 for the holiday.
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                 Based on these good faith reasons, the parties request this Court grant this Stipulation to allow
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27
     plaintiff an extension to file Reply to Opposition to Motion to Remand and Request for sanctions.

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           Case 3:20-cv-00629-MMD-CLB Document 15 Filed 12/30/20 Page 2 of 2



1    APPROVED AND STIPULATED AS TO FORM AND CONTENT
2
     DATED this 29th day of December 2020.    DATED this 29th day of December 2020.
3

4           /s/ Curtis B. Coulter                    /s/ Melissa J. Roose
     Curtis B. Coulter, Esq.                  Melissa J. Roose, Esq.
5    COULTER HARSH LAW                        RESNICK & LOUIS, P.C.
     403 Hill Street                          8925 W. Russell Road, Ste.220
6    Reno, Nevada 89501                       Las Vegas, NV 89148
     Attorney for Plaintiff                   Attorneys for Defendants
7

8
                                              IT IS SO ORDERED.
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10                                            MIRANDA M. DU
                                              CHIEF UNITED STATES DISTRICT JUDGE
11
                                              DATED THIS 30th Day of December 2020.
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